                                                                                                 DISTRICT OF OREGON
                                                                                                      FILED
                                                                                                    February 16, 2016
                                                                                              Clerk, U.S. Bankruptcy Court



            Below is an Order of the Court.




                                                                            _______________________________________
                                                                                        RANDALL L. DUNN
                                                                                      U.S. Bankruptcy Judge




                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON

In re                                                 )            15-35133-rld7
                                                          Case No.________________
 Sherry L Garboden and Elbert G Garboden              )
                                                      )                        02/15/16
                                                          ORDER, DRAFTED ON:__________,
                                                      )   RE: RELIEF FROM (Check ALL that apply):
                                                      )      DEBTOR STAY     CODEBTOR STAY
                                                      )                            CitiMortgage, Inc.
                                                          CREDITOR:____________________________________________
Debtor(s)                                             )   CODEBTOR:___________________________________________

   The undersigned, _________________________________,
                                 Jesse A.P. Baker            whose address is ________________________________
                                                                              4375 Jutland Drive Suite 200; P.O. Box 17933
_____________________________________________,
San Diego, CA 92177-0933                               Email address is ____________________________________,
                                                                                   jbaker@aldridgepite.com
                        (858) 750-7600
Phone No. is ______________________________,      and any OSB # is __________,
                                                                     100017     presents this Order based upon:
   The completed Stipulation of the parties located at the end of this document.
   The oral stipulation of the parties at the hearing held on __________.
   The ruling of the court at the hearing held on __________.
   Creditor certifies any default notice required by pt. 5 of the Order re: Relief from Stay entered on __________ was served,
   and that debtor has failed to comply with the conditions of that order.
   Creditor certifies that no response was filed within the response period plus 3 days to the Motion for Relief from Stay that
   was filed on __________
                    01/22/16 and served on __________.
                                                01/22/16

    IT IS ORDERED that, except as provided in pt. 4 below, the stay existing pursuant to 11 USC §362(a) shall remain in effect
as to the property described below (hereinafter "the property"):
   Personal property described as (e.g., 2001 Ford Taurus):




   Real property located at (i.e., street address):
12054 Chapin Court, Oregon City, Oregon 97045


   [Optional UNLESS In Rem Relief Granted] Exhibit A attached hereto is the legal description of the property.

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   IT IS FURTHER ORDERED that the stay is subject to the conditions marked below:
   1. Regular Payment Requirements.
      a. Debtor(s) shall deliver regular monthly payments in the amount of $____________ commencing _________ to
         Creditor at the following address:



      b. The Chapter 13 trustee shall immediately pay and disburse to Creditor the amount of $____________ per month
         from funds paid to the trustee by Debtor(s), and continue each month until the plan is confirmed, at which time the
         plan payment terms shall control. Payments made by the trustee under this order shall be deemed to be payments
         under the plan for purposes of the trustee's collection of percentage fees.
      c. Debtor(s) shall pay to the trustee any and all payments required to be paid under the terms of the Chapter 13 plan.
   2. Cure Payment Requirements. Debtor(s) shall cure the post-petition default of $____________ consisting of




      (e.g., $_____ in payments and $_____ in late charges for April - June, 2002), as follows:
      a. In equal monthly installments of $______________ each, commencing ___________ and continuing thereafter
         through and including __________.
      b. By paying the sum of $_____________ on or before __________, and the sum of $_____________ on or before
         __________.
      c. Other (describe):




   3. Insurance Requirement(s). Debtor shall maintain insurance on the property at all times as required by the security
      agreement, naming ___________________________________________________ as the loss payee.
      On or before __________ Debtor(s) shall provide counsel for Creditor with proof of insurance.
   4. Stay Relief and Codebtor Stay Relief without Cure Opportunity.
      a. Upon default in the conditions in pt(s). ______ Creditor may file and serve a certificate of non-compliance specifying
         the default, together with a proposed order terminating the stay to allow Creditor to foreclose on, and obtain
         possession of, the property to the extent permitted by applicable nonbankruptcy law, which the Court may grant
         without further notice or hearing.
      b. The stay is terminated to allow Creditor to foreclose on, and obtain possession of, the property to the extent permitted
         by applicable nonbankruptcy law, provided that a foreclosure sale shall not occur prior to __________.
      c. Creditor is granted relief from stay effective __________ to foreclose on, and obtain possession of, the property, to
         the extent permitted by applicable nonbankruptcy law.
      d. Creditor is granted relief from stay to foreclose on, and obtain possession of, the property, to the extent permitted
         by applicable nonbankruptcy law.
      e. If a Creditor with a senior lien on the property is granted relief from stay, Creditor may file and serve a certificate
         identifying the senior lien holder and a proposed order terminating the stay, which the Court may grant without further
         notice or hearing.
      f. Creditor is granted relief from stay to ____________________________________________________________
      ____________________________________________________________________________________________.
      g. Creditor is granted “in rem” relief from stay with respect to the real property described above and in Exhibit A. This
         order shall be binding in any other case filed under 11 USC purporting to affect such real property filed not later than
         two (2) years after the date of the entry of this order unless the bankruptcy court in the subsequent case grants relief
         from this order. Any governmental unit that accepts notices of interests or liens in real property shall accept a
         certified copy of this order for indexing and recording.
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      h. Creditor is granted relief from the codebtor stay, as it applies to the codebtor(s) named in the caption above, to
         enforce the terms of the contract and collect the deficiency balance.
   5. Stay Relief with Cure Opportunity. Upon default in the checked condition(s) in pt(s). 1 - 3, Creditor shall serve written
      notice of default on Debtor(s) and Attorney for Debtor(s) that gives Debtor(s) ____ calendar days after the mailing
      of the notice to cure the default. If Debtor(s) fails to cure the default in accordance with this paragraph, then Creditor
      shall be entitled to submit a proposed order terminating the stay, which the Court may grant without further notice or
      hearing.
      a. The notice of default may require that Debtor(s) make any payment(s) that becomes due between the date the notice
         of default is mailed and before the cure deadline.
      b. The notice of default may require Debtor(s) to pay $____________ for the fees and costs of sending the notice.
      c. Only ____ notices of default and opportunity to cure are required per       year (calculated from date of entry of this
         order), during the remainder of this case, or (describe):



   6. Amended Proof of Claim. Creditor shall file an amended proof of claim to recover all accrued post-petition attorney
      fees and costs and (describe):




   7. Miscellaneous Provisions.
      a. If Creditor is granted relief from stay, the 14-day stay provided by Fed. Rule Bankr. Proc. 4001(a) shall be waived.
      b. Any notice that Creditor's counsel shall give to Debtor(s)/Codebtor, or attorney for Debtor(s)/Codebtor, pursuant to
         this order shall not be construed as a communication under the Fair Debt Collection Practices Act, 15 USC §1692.
   8. A final hearing on Creditor's motion for relief from stay shall be held on ___________ at ___________ in
   _______________________________________________________________________________________________.
   9. Other:




PRESENTED, AND CERTIFIED, BY:                                ###

/s/ Jesse A P Baker
___________________________________________

IT IS SO STIPULATED:
Creditor’s Attorney:                                                   Debtor(s)’s Attorney:

___________________________________________                            ____________________________________________
Name: ____________________________________                             Name: _____________________________________
OSB#: ____________________________________                             OSB#: _____________________________________

NO OBJECTION TO ORDER BY CASE TRUSTEE:                                 Codebtor’s Attorney:

By:________________________________________                            ___________________________________________
                                                                       Name: _____________________________________
                                                                       OSB#: _____________________________________

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 1   JESSE A.P. BAKER, OSB No. 100017
     ALDRIDGE PITE, LLP
 2   4375 Jutland Drive, Suite 200
     P.O. Box 17933
 3   San Diego, CA 92177-0933
     Telephone: (858) 750-7600
 4   Facsimile: (619) 590-1385
 5   Attorney for   CitiMortgage, Inc.
 6

 7

 8
                                UNITED STATES BANKRUPTCY COURT
 9
                                         DISTRICT OF OREGON
10
     In re                                           Case No. 15-35133-rld7
11
                                                     LIST OF INTERESTED PARTIES TO
12   ELBER GARBODEN AND SHERRY L                     BE SERVED WITH COPY OF ORDER
     GARBODEN,
13
                     Debtors.
14

15

16           Pursuant to LBR 9021, the following parties should be served a copy of the ORDER RE:
17 RELIEF FROM STAY OF CITIMORTGAGE, INC.

18 Elber Garboden                                    Department of Justice
   Sherry L Garboden                                 620 SW Main St #213
19 12054 Chapin Court                                Portland, OR 97205
   Oregon City, OR 97045                             USTPRegion18.PL.ECF@usdoj.gov
20
   Kachelle A Baxter                                 Bank of America
21 Baxter & Baxter, LLP                              100 North Tryon St
   Baxter & Baxter, LLP                              Charlotte, NC 28202
22 8835 SW Canyon Lane, Suite 130
   Portland, OR 97225                                Elber Garboden
23 kachelle@baxterlaw.com                            12054 Chapin Court
                                                     Oregon City, OR 97045
24 Amy E Mitchell                                    and Sherry Garboden
   P.O. Box 2289
25 Lake Oswego, OR 97035
   mitchelltrustee@comcast.net
26

27

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                  LIST OF INTERESTED PARTIES TO BE SERVED WITH COPY OF ORDER


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